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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               CASE NUMBER: 1:23-cv-20873-RAR


 JOCELYN P. PALACIOS,

        PLAINTIFF,

 vs.

 NCL (BAHAMAS) LTD., A BERMUDA
 COMPANY, and NCL CORPORATION
 LTD.,

       DEFENDANT(s).
 ________________________________/

                        NOTICE OF APPEARANCE AS CO-COUNSEL

        COMES NOW, Gabriela C. Novo, Esq., and enters her Notice of Appearance as Co-

 Counsel of Record on behalf of the Plaintiff, JOCELYN P. PALACIOS. This Notice is limited

 exclusively to representation at the trial level. The clerk of this Court is requested to send copies

 of all Notices pertaining to this Cause to undersigned counsel.

                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that the foregoing was sent via the CM/ECF system to all counsel

 of record, on this 9th day of March 2023.


                                               Gabriela C. Novo, P.A.
                                               8751 W Broward Blvd, Suite 304
                                               Plantation, Florida 33324
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                                        By:    /s/ Gabriela C. Novo
                                               Gabriela C. Novo, Esq.
                                               Florida Bar Number 808261
